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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
IN THE SOUTHERN DIVISION

MONIQUE GRIMES, as Personal
Representative of the Estate of
DAMON GRIMES, Deceased,

Plaintiff,
V Case No.
Hon.
TROOPER ETHAN BERGER,
Individually,
Defendant.

 

GEOFFREY N. FIEGER (P30441)

JAMES J. HARRINGTON IV (P65351)
GINA U. PUZZUOLI (P37992)
DANIELLE L. DEZBOR (P79488)
Fieger, Fieger, Kenney & Harrington, P.C.
Attorneys for Plaintiff

19390 West 10 Mile Road

Southfield, MI 48075

(248) 355-5555

 

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

There is a pending civil action against a
different defendant arising out of the same
transaction or occurrence alleged in this
Complaint before the Honorable Gershwin A.
Drain, Case No. 17-cv-12860.

 

NOW COMES, Plaintiff, MONIQUE GRIMES, as Personal

Representative of the Estate of DAMON GRIMES, by and through her

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attorneys, FIEGER, FIEGER, KENNEY & HARRINGTON, P.C., and for
her Complaint and Jury Demand against the above named Defendant, hereby
states as follows:

JURISDICTION

1. This action arises under the United States Constitution,
particularly under the provisions of the Fourth and Fourteenth Amendments
to the United States Constitution and under the laws of the United States,
particularly under the Civil Rights Act, 42 U.S.C. §§ 1983 and 1988, and
under the statutes and common law of the State of Michigan.

2. This court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343
(a)(3), 1343(a)(4) and 42 U.S.C § 1983.

3. This court has supplemental jurisdiction of the Michigan law
state claims which arise out of the nucleus of operative facts common to
Plaintiffs federal claims pursuant to 28 U.S.C. §1367.

4. The amount in controversy exceeds Seventy-Five Thousand
dollars, excluding interests, costs, and attorney fees.

VENUE

5. Venue lies in the Eastern District of Michigan pursuant to 28

U.S.C § 1391(d). The events took place in the City of Detroit, County of

Wayne, State of Michigan, which is located within the jurisdiction of the

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United States District Court for the Eastern District of Michigan, Southern
Division.
PARTIES

6. At all times relevant to this lawsuit, Plaintiff's Decedent,
DAMON GRIMES, was a resident of the City of Detroit, County of Wayne,
State of Michigan.

7. At all times relevant hereto, MONIQUE GRIMES, was duly
appointed as Personal Representative of the Estate of DAMON GRIMES by
the Wayne County Probate Court.

8. Upon information and belief, at all times relevant hereto,
TROOPER ETHAN BERGER was a citizen of the State of Michigan and
was acting in his individual capacity and under the color of state law within
the course and scope of his employment as a State Trooper for the State of
Michigan.

FACTUAL STATEMENT

9. Plaintiff hereby reincorporates and reasserts each and every
allegation set forth in the previous paragraphs of this Complaint.

10. On or about August 26, 2017, at around 5:30 p.m., DAMON

GRIMES, who was 15 years old, was operating an all-terrain vehicle

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[hereinafter, “ATV”] east on Rossini, near Gratiot avenue, in the City of
Detroit, State of Michigan.

11. At all times relevant hereto, Defendant, TROOPER ETHAN
BERGER, began to pursue DAMON GRIMES and did so in a manner in
direct violation of the laws of the State of Michigan and/or policies and
procedures of the Michigan State Police.

12. That Defendant, TROOPER ETHAN BERGER, was driving
the patrol car and was in pursuit of DAMON GRIMES, who was merely
riding his ATV.

13. At no time did Defendant, TROOPER ETHAN BERGER,
witness DAMON GRIMES commit any violent crime or felony.

14. At no time did DAMON GRIMES have a weapon or display
any object that appeared to be a weapon.

15. At no time did DAMON GRIMES threaten Defendant,
TROOPER ETHAN BERGER, in any way.

16. At no time did DAMON GRIMES pose an immediate threat of
harm to Defendant, TROOPER ETHAN BERGER, or any other person in
the immediate vicinity.

17. At all times relevant hereto, while Defendant TROOPER

ETHAN BERGER, pursued DAMON GRIMES in his patrol car, he

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authorized and allowed, his passenger to deploy his Taser directly at
DAMON GRIMES through the open window of Defendant’s moving patrol
vehicle in violation of the United States Constitution and the Michigan State
Police’s policies and/or procedures.

18. At all relevant times, TROOPER ETHAN BERGER was fully
aware of his and his passenger’s unconstitutional actions.

19.  Atall times relevant hereto, DAMON GRIMES was unlawfully
pursued by Defendant, TROOPER ETHAN BERGER, and struck with the
Taser while in motion on his ATV.

20. At all times relevant hereto, the electrical force of the Taser
caused DAMON GRIMES to lose control of the ATV and propelled him
into the rear end of another motor vehicle.

21. At all times relevant, Defendant, TROOPER ETHAN
BERGER, knew or should have known that the pursuit of DAMON
GRIMES and application of a Taser to an individual would have the effect
of that person losing muscle control and to tase an individual on a moving
ATV would be extremely dangerous and an excessive use of force.

22. At all times relevant, Defendant, TROOPER ETHAN

BERGER, knew or should have known that the pursuit and application of a

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Taser upon DAMON GRIMES, who was still in motion on the ATV, posed
a substantial risk of death or serious injury.

23. That aftee DAMON GRIMES was shot with the Taser,
Defendant, TROOPER ETHAN BERGER, did not stop the patrol vehicle
and instead drove off.

24. DAMON GRIMES died as a direct and proximate result of the
wrongful acts and omissions of Defendant TROOPER ETHAN BERGER.

25. That at all relevant times, Defendant, TROOPER ETHAN
BERGER, was acting under the color of state law as a State Trooper
employed by the State of Michigan and proximately caused DAMON
GRIMES injuries as set forth herein

COUNTI
42 U.S.C § 1983-EXCESSIVE FORCE

26. Plaintiff hereby reincorporates and reasserts each and every
allegation set forth in the previous paragraphs of this Complaint.

27. At all times relevant hereto, as a State Trooper acting under the
color of law, Defendant, TROOPER ETHAN BERGER, acting in his
individual capacity as a State Trooper for the State of Michigan, was
required to obey the laws of the United States, including those laws
identified under the Fourth and Fourteenth Amendments to the United States

Constitution.

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28. In violation of DAMON GRIMES’ clearly established
constitutionally-protected right to be free from punishment and deprivation
of life and liberty without due process of law under the Fourth and
Fourteenth Amendments to the United States Constitution, Defendant,
unlawfully used and allowed excessive force againss DAMON GRIMES,
who was 15 years old, thereby causing his untimely death.

29. In violation of DAMON GRIMES’ clearly established
constitutionally-protected right to be free from punishment and deprivation
of life and liberty without due process of law under the Fourth and
Fourteenth Amendments to the United States Constitution, Defendant,
TROOPER ETHAN BERGER, unlawfully used excessive force and/or
failed to stop the use of excessive force agains: DAMON GRIMES, who
was 15 years old, thereby causing his untimely death.

30. Under all the circumstances known to Defendant, TROOPER
ETHAN BERGER, the pursuit and/or the physical force used against
DAMON GRIMES was objectively unreasonable and clearly excessive.

31. Under all the circumstances known to Defendant, TROOPER
ETHAN BERGER, the physical force used against DAMON GRIMES was
objectively unreasonable and clearly excessive, and TROOPER ETHAN

BERGER owed a duty to stop his own actions and the actions of the State

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Trooper in the car with him and further, had the opportunity to stop such

actions, but failed to do so.

32. The misconduct of Defendant, TROOPER ETHAN BERGER,

directly and proximately caused DAMON GRIMES and family members of

his estate to suffer numerous injuries and damages and family members of

his estate will continue to suffer in the future, including but not limited to:

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Conscious physical pain and suffering endured by DAMON
GRIMES during the time between his injury and death;
Medical and hospital expenses;

Funeral and burial expenses;

Loss of financial support and/or future support from
DAMON GRIMES;

Loss of society and companionship of DAMON GRIMES;
Death;

Loss of service;

Loss of gifts and/or other valuable gratuities;

Attorneys fees and costs pursuant to 42 U.S.C. §1988;
Punitive damages;

Other damages, injuries, and consequences that are found to
be related to the incident that develop during the course of
discovery; and

Any other damages allowed by law.

33. The acts and/or omissions of Defendant, TROOPER ETHAN

BERGER, were willful, wanton, reckless, malicious, oppressive, and/or

done with a conscious or reckless disregard for the constitutional rights of

DAMON GRIMES. Plaintiff therefore requests an award of punitive and

exemplary damages. Plaintiff has retained private counsel to represent him

in this matter and is entitled to an award of attorney fees and costs.

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34. That Defendant is not entitled to qualified immunity.

WHEREFORE, Plaintiff respectfully requests this Honorable Court
enter judgment in his favor against Defendant TROOPER ETHAN
BERGER and in an amount greatly in excess of Seventy-Five Thousand
dollars ($75,000.00) exclusive of costs, interest and attorney fees.

COUNT I
GROSS NEGLIGENCE

35. Plaintiff hereby reincorporates and reasserts each and every
allegation set forth in the previous paragraphs of this Complaint.

36. At all times relevant hereto, Defendant, TROOPER ETHAN
BERGER, owed DAMON GRIMES a duty to not act in a grossly negligent
manner, to act prudently and with reasonable care, and to avoid the use of
unnecessary and unreasonable force.

37. Defendant, TROOPER ETHAN BERGER, breached the duties
owed to DAMON GRIMES when Defendant acted with a substantial lack of
concern and with reckless disregard for the safety of DAMON GRIMES,
including but not limited to the following particulars:

a. Allowing the use of a Taser on a child in response to a traffic
violation thereby causing his death;

b. Failing to exhaust all other less intrusive uses of force before
authorizing/using the Taser upon DAMON GRIMES, a child;

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c. Failing to issue verbal warning against DAMON GRIMES
prior to allowing/using the Taser against him;

d. Authorizing and/or allowing use of a Taser at DAMON
GRIMES who was operating a moving ATV, thereby causing a
collision, in complete disregard for the safety of DAMON
GRIMES and others;

e. Authorizing/allowing use of a Taser through an open window
of a moving vehicle in violation of State of Michigan policies
and procedures;

f. Engaging in a high-speed pursuit in response to a misdemeanor
traffic violation in complete disregard for the safety of
DAMON GRIMES and others;

g. Engaging in a high-speed pursuit in response to a misdemeanor
traffic violation in violation of State of Michigan and/or City of
Detroit Police Department policies and procedures;

h. Utilizing deadly force upon DAMON GRIMES who
Defendant, TROOPER ETHAN BERGER, did not witness
commit any violent crime or felony;

i. Utilizing deadly force upon DAMON GRIMES who was not in
possession of a weapon and did not display any object that
appeared to be a weapon;

j. Utilizing deadly force upon DAMON GRIMES who did not
pose an immediate threat of harm to Defendant, TROOPER
ETHAN BERGER, or any person in the immediate vicinity;

k. Utilizing deadly force upon DAMON GRIMES who did not
threaten Defendant, TROOPER ETHAN BERGER, or any
member of the public in any way;

1. Acting with reckless disregard for the safety of DAMON
GRIMES; and

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m. All other breaches learned through the course of discovery
which are hereby adopted by reference.

38. At all times relevant, Defendant, TROOPER ETHAN
BERGER’S conduct was so reckless as to have a substantial disregard as to
whether injury would occur and / or otherwise amounts to gross negligence.

39. As a result of the grossly negligent conduct of Defendant,
TROOPER ETHAN BERGER, such acts were the proximate cause of all
injuries claimed herein.

40. That the Defendant TROOPER ETHAN BERGER is not
entitled to governmental immunity.

41. The misconduct of Defendant, TROOPER ETHAN BERGER,
directly and proximately caused DAMON GRIMES and family members of
his estate to suffer numerous injuries and damages and family members of
his estate will continue to suffer in the future, including but not limited to:

a. Conscious physical pain and suffering endured by DAMON

GRIMES during the time between his injury and death;

b. Medical and hospital expenses;
Funeral and burial expenses;
Loss of financial support and/or future support from
DAMON GRIMES;
Loss of society and companionship of DAMON GRIMES;
Death;
Loss of service;

Loss of gifts and/or other valuable gratuities;
Attorneys fees and costs pursuant to 42 U.S.C. §1988;

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j. Other damages, injuries, and consequences that are found to
be related to the incident that develop during the course of
discovery; and

k, Any other damages allowed by law.

WHEREFORE, Plaintiff respectfully requests this Honorable Court
enter judgment in her favor against Defendant and in an amount greatly in
excess of Seventy-Five Thousand dollars ($75,000.00) exclusive of costs,
interest and attorney fees.

Respectfully submitted,

/s/ Geoffrey N. Fieger
Geoffrey N. Fieger (P30441)
James J. Harrington IV (P65351)
Gina U. Puzzuoli (P37992)
Danielle L. Dezbor (P79488)
Fieger, Fieger, Kenney & Harrington, P.C.
Attorney for Plaintiff
19390 W. Ten Mile Rd.
Southfield, MI 48075
Dated: November 1, 2017 (248) 355-5555

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
IN THE SOUTHERN DIVISION

MONIQUE GRIMES, as Personal Representative
of the Estate of DAMON GRIMES,

Plaintiff,
Case No.
Vv Hon.
TROOPER ETHAN BERGER,
Individually,
Defendants.

 

GEOFFREY N. FIEGER (P30441)
JAMES J. HARRINGTON IV (P65351)
GINA U. PUZZUOLI (P37992)
DANIELLE L. DEZBOR (P79488)
Fieger, Fieger, Kenney & Harrington, P.C.
Attorneys for Plaintiff

19390 West 10 Mile Road

Southfield, MI 48075

(248) 355-5555

 

DEMAND FOR TRIAL BY JURY
NOW COMES Plaintiff, MONIQUE GRIMES, as _ Personal

Representative of the Estate of DAMON GRIMES, Deceased, by and

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through her attorneys FIEGER, FIEGER, KENNEY & HARRINGTON,

P.C., and hereby demands a trial by jury in the above-captioned matter.

Dated: November 1, 2017

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Respectfully submitted,

/s/ Geoffrey N. Fieger
Geoffrey N. Fieger (P30441)
James J. Harrington IV (P65351)
Gina U. Puzzuoli (P37992)
Danielle L. Dezbor (P79488)
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